Case 2:18-cv-11450-LJM-MKM ECF No. 17 filed 06/08/18    PageID.1008   Page 1 of 3



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

MICHAEL WELCH,

      Plaintiff,
vs.                                               Case No: 18-cv-11450
                                                  Hon. Laurie J. Michelson
CITY OF MELVINDALE, a political                   Mag. Mona K. Majzoub
Subdivision of the State; MELVINDALE
PUBLIC SAFETY COMMISSION, a political
advisory body of the City of Melvindale;
JEFFERY BOLTON, KEVIN MCISAAC,
MARTHA MCDANIEL, PATRICIA HALL,
JOSEPH ALVARADO, and LAWRENCE
COOGAN, individuals, sued in their official and
personal capacities,

      Defendants.
__________________________________________________________________
DEBORAH GORDON LAW                     PLUNKETT COONEY
Deborah L. Gordon (P27058)             Audrey J. Forbush (P41744)
Elizabeth Marzotto Taylor (P82061)     Attorney for Defendants, City of
Attorneys for Plaintiff                Melvindale, Melvindale Public
33 Bloomfield Hills Parkway, Suite 220 Safety Comm., Bolton, McIsaac,
Bloomfield Hills, Michigan 48304       McDaniel, Hall & Alvarado
(248) 258-2500/Fax (248) 258-7881      Plaza One Financial Center
dgordon@deborahgordonlaw.com           111 E. Court Street- Suite 1B
emarzottotaylor@deborahgordonlaw.com Flint, Michigan 48502
                                       (810) 342-7014/Fax (810) 232-3159
                                       aforbush@plunkettcooney.com

                                          JOHNSON, ROSATI, SCHULTZ
                                          & JOPPICH, P.C.
                                          Carlito H. Young (P61863)
                                          Laura B. Brown (P79742)
                                          Attorneys for Lawrence Coogan, Only
                                          27555 Executive Drive, Suite 250
                                          Farmington Hills, Michigan 48331
Case 2:18-cv-11450-LJM-MKM ECF No. 17 filed 06/08/18        PageID.1009    Page 2 of 3



                                    (248) 489-4100/Fax (248) 489-1726
                                    cyoung@jrsjlaw.com
                                    lbrown@jrsjlaw.com
__________________________________________________________________

    STIPULATED ORDER STAYING ACTION BY THE MELVINDALE
                PUBLIC SAFETY COMMISSION

        It is hereby stipulated by and between the parties that the Melvindale Public

Safety Commission shall not issue a disciplinary complaint, disciplinary charges,

and/or notice of a trial board hearing regarding Plaintiff Lieutenant Michael

Welch’s employment with the Melvindale Police Department prior to June 26,

2018.

        The parties further stipulate and agree that Counsel for Defendants City of

Melvindale, Melvindale Public Safety Commission, Bolton, McIsaac, McDaniel,

Hall, and Alvarado will notify the parties and the Court of the result of the June 12,

2018 closed session meeting of the Public Safety Commission at the status

conference scheduled for June 13, 2018 at 4:00 p.m.

        Plaintiff’s Motion for Entry of Proposed Order Staying Action by the

Melvindale Public Safety Commission is hereby withdrawn [Dkt 15].

                                              s/Laurie J. Michelson
                                              LAURIE J. MICHELSON
Dated: June 8, 2018                           U.S. DISTRICT JUDGE
Case 2:18-cv-11450-LJM-MKM ECF No. 17 filed 06/08/18   PageID.1010   Page 3 of 3




As stipulated to:

DEBORAH GORDON LAW                       PLUNKETT COONEY
/s/ Deborah L. Gordon (P27058)           /s/Audrey J. Forbush (P41744)
Elizabeth Marzotto Taylor (P82061)       Attorney for Defendants, City of
Attorneys for Plaintiff                  Melvindale, Melvindale Public
33 Bloomfield Hills Parkway, Suite 220   Safety Comm., Bolton, McIsaac,
Bloomfield Hills, Michigan 48304         McDaniel, Hall & Alvarado
(248) 258-2500/Fax (248) 258-7881        Plaza One Financial Center
dgordon@deborahgordonlaw.com             111 E. Court Street- Suite 1B
emarzottotaylor@deborahgordonlaw.com     Flint, Michigan 48502
                                         (810) 342-7014/Fax (810) 232-3159
                                         aforbush@plunkettcooney.com

                                         JOHNSON, ROSATI, SCHULTZ
                                         & JOPPICH, P.C.
                                         /s/Carlito H. Young (P61863)
                                         Laura B. Brown (P79742)
                                         Attorneys for Lawrence Coogan, Only
                                         27555 Executive Drive, Suite 250
                                         Farmington Hills, Michigan 48331
                                         (248) 489-4100/Fax (248) 489-1726
                                         cyoung@jrsjlaw.com
                                         lbrown@jrsjlaw.com
